Case 2:15-cv-00659-APG-CWH Document 25 Filed 09/30/15 Page 1 of 3

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Attorneys for Defendant Sonoran Barbeque Nevada
6 || LLC
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8 IN THE UNITED STATES DISTRICT COURT
9 DISTRICT OF NEVADA
10
11 }} LINDA WELSH, an individual,
Case No. 2:15-cv-00659-APG-CWH
Plaintiff,
L STIPULATION AND ORDER TO
v VS. DISMISS SONORAN BARBEQUE
& NEVADA, LLC
= SONORAN BARBEQUE NEVADA, LLC dba
and aka FAMOUS DAVE’S, a Nevada limited
o liability company; EMPLOYEE(S)/AGENT(S)
oO] = DOES 1-10; and ROE CORPORATIONS 11-
a 27 16 |} 20, inclusive,
° 17 Defendants.
18
19 Plaintiff Linda Welsh (“Welsh”) and Defendant Sonoran Barbeque Nevada, LLC

20 |} (‘Sonoran’), by and through their attorneys of record, hereby stipulate and agree as follows:

21 WHEREAS,
22 1. On January 28, 2015, Welsh filed her Complaint against Sonoran for Violation of

23 || the ADA and NRS 613.310.
24 2. On August 31, 2015, both parties attended the Early Neutral Evaluation

25 || Conference and agreed to dismiss the action.

26 IT IS HEREBY STIPULATED AND AGREED that Sonoran is released from liability

27 || for the acts described in Welsh’s Complaint.

28

 

 

 
Case 2:15-cv-00659-APG-CWH Document 25 Filed 09/30/15 Page 2 of 3

] IT IS FURTHER STIPULATED AND AGREED that Sonoran shall be dismissed from

2 || the action, with prejudice.

3 IT IS FURTHER STIPULATED AND AGREED that each party shall bear its own

4 || attorney’s fees and costs.

 

5
6 || Dated this 28" day of September, 2015 Dated this 28" day of September, 2015
7 || GABROY LAW OFFICES SNELL & WILMER LLP.
8
/s/ Christian Gabroy
9 | Christian Gabroy, NV Bar No. 8805 /s/ Sarah A. Mead

 

 

Ivy Hensel, NV Bar No. 13502 P. Swen Prior, NV Bar No. 9324

10 || 170 S. Green Valley Parkway Sarah A. Mead, NV Bar No. 13725

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Il || Henderson, Nevada 89102 Las Vegas, NV 89169

Attorney for Plaintiff Attorneys for Defendant Sonoran Barbeque
Nevada, LLC

 

 

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Snell & Wilmer

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Case 2:15-cv-00659-APG-CWH Document 25 Filed 09/30/15 Page 3 of 3

1 2:15-cv-00659-APG-C WH
Dkt. 24

2 ORDER

3 UPON STIPULATION of the parties, and good cause appearing therefor:

4 IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Defendant Sonoran

5 || Barbeque Nevada, LLC is released from liability for the acts described in Plaintiff Linda Welsh’s

6 || Complaint.
7 IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Sonoran Barbeque

8 || Nevada, LLC shall be dismissed from this action, with prejudice.

9 IT IS FURTHER ORDERED, ADJUDGED AND DECREED that each party shall

10 || bear its own attorney’s fees and costs.

 

 

 

 

11 IT ISSO ORDERED.

g 12

Z é, 13 Dated: September 30, 2015.
Se 428 UNITED STATES DISTRICT JUDGE
oO Ee
we = 16
- 17
Submitted by:
18
16 SNELL & WILMER L.L.P.
By: /s/ Sarah A. Mead
20 P. Swen Prior, Esq.
Sarah A. Mead, Esq.
21 3883 Howard Hughes Parkway
Suite 1100

22 Las Vegas, Nevada 89169
55 Attorneys for Defendant Sonoran Barbeque Nevada, LLC
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